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                               UNITED STATES DISTRICT COURT 
                               WESTERN DISTRICT OF LOUISIANA 
                                   SHREVEPORT DIVISION 
 
UNITED STATES OF AMERICA                        CASE NO.     5:17‐MJ‐00094‐01 
VS.                                                           
HERLIN JEOVANNI PORTILLO‐GOMEZ                  JUDGE:       HORNSBY 
 
                                        MINUTES OF COURT: 
                                         Initial Appearance 
Date:                   August 18, 2017               Presiding: Magistrate Judge Hornsby 
Court Opened:           11:15 a.m.                    Courtroom Deputy: Suzanne Delgado 
Court Adjourned:   11:45 p.m.                         Court Reporter: LCR Courtroom 3 
Statistical Time: 
                        00:30                          
                                           APPEARANCES 
1. Tiffany Fields, AUSA                               for United States of America 
2. J. Antonio Florence, CJA Appointed counsel         for Herlin Jeovanni Portillo‐Gomez 
3. Herlin Jeovanni Portillo‐Gomez, Defendant 
 
                                           PROCEEDINGS 
                                                    
INITIAL APPEARANCE on Criminal Complaint: 
 
The defendant admitted his identity and was advised of the charge and of his constitutional 
rights and consular notification provided. 
 
COUNSEL: 
 
Based on the evidence presented at the hearing, the court finds that the defendant does not 
have the financial resources to retain counsel; therefore, the court granted Defendant’s oral 
motion for appointment of counsel.  The Office of the Federal Public Defender is appointed to 
represent Defendant or to recommend counsel to represent Defendant in all further 
proceedings.  
 
The court granted Mr. J. Antonio Florence’s oral motion to be enrolled as appointed counsel 
through the Office of the Federal Defender for defendant. 
 
PRELIMINARY EXAMINATION: 
 
Defendant waived his right to a preliminary examination and detention hearing at this time, 
reserving his right to request a hearing on bond if his circumstances change.  The defendant is 
remanded to the custody of the U. S. Marshal pending further proceedings.  An order of 
detention pending trial is filed herewith. 
 
ARRAIGNMENT: 
 
This matter will be presented to the Grand Jury at its next session. Further proceedings or 
arraignment will be held on August 29, 2017 at 4:00 p.m. before Magistrate Judge Hornsby. 
